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          IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                  CENTRAL DIVISION




 UNITED STATES OF AMERICA,
       Plaintiff,                                   MEMORANDUM DECISION AND
                                                    ORDER DENYING THIRD TRIAL
                                                    CONTINUANCE


               vs.


 SALVADOR RAMIREZ, MIGUEL ANGEL                     Case No. 2:09-CR-784 TS
 CHAVEZ, and HENRY MACIAS
 MEDINA,
       Defendants.




       Defendant Ramirez moves to continue trial because of recently produced discovery.

Counsel contends that he needs to discuss matters with his client and needs adequate

time to prepare for trial. Counsel did not say how long a continuance is requested, but

proffers that his client waives speedy trial rights until August 30, 2010. Defendant also

requests that the trial be moved to Washington County. The government does not object

to a continuance.

      Having considered all of the factors set forth in 18 U.S.C. § 3161(h)(7)(B), the Court

finds as follows: Trial is currently set for May 11, 2010, in Salt Lake City. Less than a

month ago, a status conference was held and all counsel appeared. At that status

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conference, the Court set a discovery turnover deadline and discussed pending evidentiary

issues with counsel.

       Three of the defendants in this seven-defendant case remain for trial. Regardless

of whether or not it is continued, this multi-defendant trial will be held in Salt Lake City.

       Trial has already been continued twice. Once because the case was complex due

to the number of defendants and also because counsel needed additional time to

investigate and meet with their clients.1 The second continuance was based on a number

of factors, including the need to obtain all discovery materials from the government, the

need to meet with clients, the need to assess other defendants’ plea agreements, and the

complexity of the case.2 Thus, there has been adequate time for counsel to meet with

defendants and begin preparation for trial.

       There is a full month remaining for final preparation before trial. In light of the two

prior continuances, Defendant Ramirez has not shown that, under these circumstances,

the denial of the requested continuance will deny his counsel the time necessary for

effective trial preparation taking into account due diligence. It is therefore




       1
           Docket No. 108.
       2
           Docket No. 130.

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       ORDERED that Defendant Ramirez’ Motion to Continue Trial (Docket No. 155) is

DENIED and the final pretrial conference and the jury trial will proceed as previously set.

       DATED April 8, 2010.

                                          BY THE COURT:


                                          _____________________________________
                                          TED STEWART
                                          United States District Judge




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